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                                   2                                   UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4
                                            MARK SCHOBINGER, on behalf of himself
                                   5        and all others similarly situated,               Case No. 3:23-cv-03007-VC

                                   6                                   Plaintiff,            STIPULATED
                                                                                             PROTECTIVE ORDER
                                   7               v.

                                   8        TWITTER INC., and X CORP.
                                   9                                   Defendant.

                                  10

                                  11   1.       PURPOSES AND LIMITATIONS
                                  12            Disclosure and discovery activity in this action are likely to involve production of
Northern District of California
 United States District Court




                                  13   confidential, proprietary, or private information for which special protection from public disclosure
                                  14   and from use for any purpose other than prosecuting this litigation may be warranted. Accordingly,
                                  15   the parties hereby stipulate to and petition the court to enter the following Stipulated Protective
                                  16   Order. The parties acknowledge that this Order does not confer blanket protections on all disclosures
                                  17   or responses to discovery and that the protection it affords from public disclosure and use extends
                                  18   only to the limited information or items that are entitled to confidential treatment under the
                                  19   applicable legal principles. The parties further acknowledge, as set forth in Section 12.3, below, that
                                  20   this Stipulated Protective Order does not entitle them to file confidential information under seal;
                                  21   Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards that will be
                                  22   applied when a party seeks permission from the court to file material under seal.
                                  23   2.       DEFINITIONS
                                  24            2.1     Challenging Party: a Party or Non-Party that challenges the designation of
                                  25   information or items under this Order.
                                  26            2.2     “CONFIDENTIAL” Information or Items: information (regardless of how it is
                                  27   generated, stored or maintained) or tangible things that qualify for protection under Federal Rule of
                                  28   Civil Procedure 26(c).
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 1           2.3     Counsel (without qualifier): Outside Counsel of Record and House Counsel (as well

 2   as their support staff).

 3           2.4     Designating Party: a Party or Non-Party that designates information or items that it

 4   produces in disclosures or in responses to discovery as “CONFIDENTIAL” or “HIGHLY

 5   CONFIDENTIAL - ATTORNEY’S EYES ONLY.”

 6           2.5     Disclosure or Discovery Material: all items or information, regardless of the medium

 7   or manner in which it is generated, stored, or maintained (including, among other things, testimony,

 8   transcripts, and tangible things), that are produced or generated in disclosures or responses to

 9   discovery in this matter.

10           2.6     Expert: a person with specialized knowledge or experience in a matter pertinent to the

11   litigation who has been retained by a Party or its counsel to serve as an expert witness or as a

12   consultant in this action.

13           2.7     “HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY” Information or Items:

14   information (regardless of how it is generated, stored or maintained) or tangible things which the

15   parties believe to be highly confidential and is to be shared with attorneys/counsel of record only

16   (and their staff and ESI vendors). This designation shall be reserved for sensitive and/or confidential

17   business information, which includes but is not limited to trade secrets, or proprietary code.

18           2.8     House Counsel: attorneys who are employees of a party to this action. House Counsel

19   does not include Outside Counsel of Record or any other outside counsel.

20           2.9     Non-Party: any natural person, partnership, corporation, association, or other legal

21   entity not named as a Party to this action.

22           2.10    Outside Counsel of Record: attorneys who are not employees of a party to this action

23   but are retained to represent or advise a party to this action and have appeared in this action on

24   behalf of that party or are affiliated with a law firm which has appeared on behalf of that party.

25           2.11    Party: any party to this action, including all of its officers, directors, employees,

26   consultants, retained experts, and Outside Counsel of Record (and their support staffs).

27           2.12    Producing Party: a Party or Non-Party that produces Disclosure or Discovery

28   Material in this action.
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 1          2.13    Professional Vendors: persons or entities that provide litigation support services (e.g.,

 2   photocopying, videotaping, translating, preparing exhibits or demonstrations, and organizing,

 3   storing, or retrieving data in any form or medium) and their employees and subcontractors.

 4          2.14    Protected Material: any Disclosure or Discovery Material that is designated as

 5   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY.”

 6          2.15    Receiving Party: a Party that receives Disclosure or Discovery Material from a

 7   Producing Party.

 8   3.     SCOPE

 9          The protections conferred by this Stipulation and Order cover not only Protected Material (as

10   defined above), but also (1) any information copied or extracted from Protected Material; (2) all

11   copies, excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

12   conversations, or presentations by Parties or their Counsel that might reveal Protected Material.

13   However, the protections conferred by this Stipulation and Order do not cover the following

14   information: (a) any information that is in the public domain at the time of disclosure to a Receiving

15   Party or becomes part of the public domain after its disclosure to a Receiving Party as a result of

16   publication not involving a violation of this Order, including becoming part of the public record

17   through trial or otherwise; and (b) any information known to the Receiving Party prior to the

18   disclosure or obtained by the Receiving Party after the disclosure from a source who obtained the

19   information lawfully and under no obligation of confidentiality to the Designating Party. Any use of

20   Protected Material at trial shall be governed by a separate agreement or order.

21   4.     DURATION

22          Even after final disposition of this litigation, the confidentiality obligations imposed by this

23   Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order

24   otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all claims and

25   defenses in this action, with or without prejudice; and (2) final judgment herein after the completion

26   and exhaustion of all appeals, rehearings, remands, trials, or reviews of this action, including the

27   time limits for filing any motions or applications for extension of time pursuant to applicable law.

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 1   5.     DESIGNATING PROTECTED MATERIAL

 2          5.1      Exercise of Restraint and Care in Designating Material for Protection. Each Party or

 3   Non-Party that designates information or items for protection under this Order must take care to

 4   limit any such designation to specific material that qualifies under the appropriate standards. The

 5   Designating Party must designate for protection only those parts of material, documents, items, or

 6   oral or written communications that qualify – so that other portions of the material, documents,

 7   items, or communications for which protection is not warranted are not swept unjustifiably within

 8   the ambit of this Order.

 9          Mass, indiscriminate, or routinized designations are prohibited. Designations that are shown

10   to be clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

11   encumber or retard the case development process or to impose unnecessary expenses and burdens on

12   other parties) expose the Designating Party to sanctions.

13          If it comes to a Designating Party’s attention that information or items that it designated for

14   protection do not qualify for protection, that Designating Party must promptly notify all other Parties

15   that it is withdrawing the mistaken designation.

16          5.2      Manner and Timing of Designations. Except as otherwise provided in this Order (see,

17   e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or

18   Discovery Material that qualifies for protection under this Order must be clearly so designated

19   before the material is disclosed or produced.

20          Designation in conformity with this Order requires:

21                (a) For information in documentary form (e.g., paper or electronic documents, but

22   excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing Party

23   affix the legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY’S EYES

24   ONLY” to each page that contains protected material. If only a portion or portions of the material on

25   a page qualifies for protection, the Producing Party also must clearly identify the protected portion(s)

26   (e.g., by making appropriate markings in the margins). A Party or Non-Party that makes original

27   documents or materials available for inspection need not designate them for protection until after the

28   inspecting Party has indicated which material it would like copied and produced. During the
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 1   inspection and before the designation, all of the material made available for inspection shall be

 2   deemed “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants copied

 3   and produced, the Producing Party must determine which documents, or portions thereof, qualify for

 4   protection under this Order. Then, before producing the specified documents, the Producing Party

 5   must affix the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY’S EYES

 6   ONLY” legend to each page that contains Protected Material. If only a portion or portions of the

 7   material on a page qualifies for protection, the Producing Party also must clearly identify the

 8   protected portion(s) (e.g., by making appropriate markings in the margins).

 9                 (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

10   Designating Party identify on the record, before the close of the deposition, hearing, or other

11   proceeding, all protected testimony.

12                 (c) for information produced in some form other than documentary and for any other

13   tangible items, that the Producing Party affix in a prominent place on the exterior of the container or

14   containers in which the information or item is stored the legend “CONFIDENTIAL” or “HIGHLY

15   CONFIDENTIAL - ATTORNEY’S EYES ONLY.” If only a portion or portions of the information

16   or item warrant protection, the Producing Party, to the extent practicable, shall identify the protected

17   portion(s).

18          5.3       Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

19   designate qualified information or items does not, standing alone, waive the Designating Party’s

20   right to secure protection under this Order for such material. Upon timely correction of a

21   designation, the Receiving Party must make reasonable efforts to assure that the material is treated in

22   accordance with the provisions of this Order.

23   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

24          6.1       Timing of Challenges. Any Party or Non-Party may challenge a designation of

25   confidentiality at any time. Unless a prompt challenge to a Designating Party’s confidentiality

26   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic burdens,

27   or a significant disruption or delay of the litigation, a Party does not waive its right to challenge a

28   confidentiality designation by electing not to mount a challenge promptly after the original
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 1   designation is disclosed.

 2          6.2     Meet and Confer. The Challenging Party shall initiate the dispute resolution process

 3   by providing written notice of each designation it is challenging and describing the basis for each

 4   challenge. To avoid ambiguity as to whether a challenge has been made, the written notice must

 5   recite that the challenge to confidentiality is being made in accordance with this specific paragraph

 6   of the Protective Order. The parties shall attempt to resolve each challenge in good faith and must

 7   begin the process by conferring directly (in voice to voice dialogue; other forms of communication

 8   are not sufficient) within 14 days of the date of service of notice. In conferring, the Challenging

 9   Party must explain the basis for its belief that the confidentiality designation was not proper and

10   must give the Designating Party an opportunity to review the designated material, to reconsider the

11   circumstances, and, if no change in designation is offered, to explain the basis for the chosen

12   designation. A Challenging Party may proceed to the next stage of the challenge process only if it

13   has engaged in this meet and confer process first or establishes that the Designating Party is

14   unwilling to participate in the meet and confer process in a timely manner.

15          6.3     Judicial Intervention. If the Parties cannot resolve a challenge without court

16   intervention, the Parties shall follow the procedures for resolving discovery disputes set forth in

17   Magistrate Judge Donna M. Ryu’s standing order and present the dispute in a joint letter to the court.

18   7.     ACCESS TO AND USE OF PROTECTED MATERIAL

19          7.1     Basic Principles. A Receiving Party may use Protected Material that is disclosed or

20   produced by another Party or by a Non-Party in connection with this case only for prosecuting,

21   defending, or attempting to settle this litigation and/or any other matter between Defendants and any

22   plaintiff or claimant represented by the law firm of Lichten & Liss-Riordan, P.C. (collectively “LLR

23   Matters”), as provided for in the parties’ separate agreement. Such Protected Material may be

24   disclosed only to the categories of persons and under the conditions described in this Order. When

25   all LLR Matters have been terminated, a Receiving Party must comply with the provisions of section

26   13 below (FINAL DISPOSITION).

27          Protected Material must be stored and maintained by a Receiving Party at a location and in a

28   secure manner that ensures that access is limited to the persons authorized under this Order.
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 1          7.2      Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise ordered by

 2   the court or permitted in writing by the Designating Party, a Receiving Party may disclose any

 3   information or item designated “CONFIDENTIAL” only to:

 4                (a) the Receiving Party’s Outside Counsel of Record in this action, as well as employees

 5   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information for

 6   this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” that is

 7   attached hereto as Exhibit A;

 8                (b) the officers, directors, and employees (including House Counsel) of the Receiving

 9   Party to whom disclosure is reasonably necessary for this litigation and who have signed the

10   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

11                (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

12   reasonably necessary for this litigation and who have signed the “Acknowledgment and Agreement

13   to Be Bound” (Exhibit A);

14                (d) the court and its personnel;

15                (e) court reporters engaged for this action and their staff, including any recorders or

16   videographers engaged for depositions;

17                (f) professional jury or trial consultants, mock jurors, and Professional Vendors to whom

18   disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment and

19   Agreement to Be Bound” (Exhibit A);

20                (g) during their depositions, witnesses in the action to whom disclosure is reasonably

21   necessary and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A),

22   unless otherwise agreed by the Designating Party or ordered by the court. Pages of transcribed

23   deposition testimony or exhibits to depositions that reveal Protected Material must be separately

24   bound by the court reporter and may not be disclosed to anyone except as permitted under this

25   Stipulated Protective Order.

26                (h) the author or recipient of a document containing the information or a custodian or

27   other person who otherwise possessed or knew the information.

28                (i) any mediator appointed by the Court or jointly selected by the parties; and
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 1                (j) other persons only by written consent of the Designating Party or upon order of the

 2   Court and on such conditions as may be agreed or ordered.

 3          7.3      Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”

 4   Information or Items. Unless otherwise ordered by the Court or permitted in writing by the

 5   Designating Party, a Receiving Party may disclose any information or item designated

 6   “CONFIDENTIAL – ATTORNEYS’ EYES ONLY” solely for purposes of this action only to:

 7          (a) the Receiving Party’s Outside Counsel of Record in this action, as well as the

 8   Receiving Party’s insurers and In-House Counsel;

 9          (b) the officers, directors, and employees (including House Counsel) of the Receiving

10   Party to whom disclosure is reasonably necessary for this litigation and who have signed the

11   “Acknowledgment and Agreement to Be Bound” (Exhibit A);

12          (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure is

13   reasonably necessary for this litigation and who have signed the “Acknowledgment and

14   Agreement to Be Bound” (Exhibit A);

15          (d) the Court and its personnel;

16          (e) court reporters engaged for this action and their staff, including any recorders or

17   videographers engaged for depositions;

18          (f) professional jury or trial consultants, mock jurors, and Professional Vendors to whom

19   disclosure is reasonably necessary for this litigation and who have signed the “Acknowledgment

20   and Agreement to Be Bound” (Exhibit A);

21          (h) the author or recipient of a document containing the information or a custodian or

22   other person who otherwise possessed or knew the information (not including a person who

23   received the document in the course of the litigation);

24          (i) any mediator appointed by the Court or jointly selected by the parties; and

25          (j) other persons only by written consent of the Designating Party or upon order of the

26   Court and on such conditions as may be agreed or ordered.

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 1   8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

 2          LITIGATION

 3          If a Party is served with a subpoena or a court order issued in other litigation that compels

 4   disclosure of any information or items designated in this action as “CONFIDENTIAL” or “HIGHLY

 5   CONFIDENTIAL - ATTORNEY’S EYES ONLY,” that Party must:

 6              (a) promptly notify in writing the Designating Party. Such notification shall include a

 7   copy of the subpoena or court order;

 8              (b) promptly notify in writing the party who caused the subpoena or order to issue in the

 9   other litigation that some or all of the material covered by the subpoena or order is subject to this

10   Protective Order. Such notification shall include a copy of this Stipulated Protective Order; and

11              (c) cooperate with respect to all reasonable procedures sought to be pursued by the

12   Designating Party whose Protected Material may be affected.

13          If the Designating Party timely seeks a protective order, the Party served with the subpoena

14   or court order shall not produce any information designated in this action as “CONFIDENTIAL” or

15   “HIGHLY CONFIDENTIAL - ATTORNEY’S EYES ONLY” before a determination by the court

16   from which the subpoena or order issued, unless the Party has obtained the Designating Party’s

17   permission. The Designating Party shall bear the burden and expense of seeking protection in that

18   court of its confidential material – and nothing in these provisions should be construed as

19   authorizing or encouraging a Receiving Party in this action to disobey a lawful directive from

20   another court.

21   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN THIS

22          LITIGATION

23              (a) The terms of this Order are applicable to information produced by a Non-Party in this

24   action and designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL - ATTORNEY’S

25   EYES ONLY.” Such information produced by Non-Parties in connection with this litigation is

26   protected by the remedies and relief provided by this Order. Nothing in these provisions should be

27   construed as prohibiting a Non-Party from seeking additional protections.

28              (b) In the event that a Party is required, by a valid discovery request, to produce a Non-
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 1   Party’s confidential information in its possession, and the Party is subject to an agreement with the

 2   Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

 3                  (1) promptly notify in writing the Requesting Party and the Non-Party that some or all

 4   of the information requested is subject to a confidentiality agreement with a Non-Party;

 5                  (2) promptly provide the Non-Party with a copy of the Stipulated Protective Order in

 6   this litigation, the relevant discovery request(s), and a reasonably specific description of the

 7   information requested; and

 8                  (3) make the information requested available for inspection by the Non-Party.

 9              (c) If the Non-Party fails to object or seek a protective order from this court within 14

10   days of receiving the notice and accompanying information, the Receiving Party may produce the

11   Non-Party’s confidential information responsive to the discovery request. If the Non-Party timely

12   seeks a protective order, the Receiving Party shall not produce any information in its possession or

13   control that is subject to the confidentiality agreement with the Non-Party before a determination by

14   the court. Absent a court order to the contrary, the Non-Party shall bear the burden and expense of

15   seeking protection in this court of its Protected Material.

16   10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

17          If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

18   Material to any person or in any circumstance not authorized under this Stipulated Protective Order,

19   the Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

20   disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material, (c)

21   inform the person or persons to whom unauthorized disclosures were made of all the terms of this

22   Order, and (d) request such person or persons to execute the “Acknowledgment and Agreement to

23   Be Bound” that is attached hereto as Exhibit A.

24   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

25          MATERIAL

26          When a Producing Party gives notice to Receiving Parties that certain inadvertently produced

27   material is subject to a claim of privilege or other protection, the obligations of the Receiving Parties

28   are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to
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 1   modify whatever procedure may be established in an e-discovery order that provides for production

 2   without prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the

 3   parties reach an agreement on the effect of disclosure of a communication or information covered by

 4   the attorney-client privilege or work product protection, the parties may incorporate their agreement

 5   in the stipulated protective order submitted to the court.

 6   12.    MISCELLANEOUS

 7          12.1    Right to Further Relief. Nothing in this Order abridges the right of any person to seek

 8   its modification by the court in the future.

 9          12.2    Right to Assert Other Objections. By stipulating to the entry of this Protective Order

10   no Party waives any right it otherwise would have to object to disclosing or producing any

11   information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no

12   Party waives any right to object on any ground to use in evidence of any of the material covered by

13   this Protective Order.

14          12.3    Filing Protected Material. Without written permission from the Designating Party or a

15   court order secured after appropriate notice to all interested persons, a Party may not file in the

16   public record in this action any Protected Material. A Party that seeks to file under seal any Protected

17   Material must comply with Civil Local Rule 79-5. Protected Material may only be filed under seal

18   pursuant to a court order authorizing the sealing of the specific Protected Material at issue. Pursuant

19   to Civil Local Rule 79-5, a sealing order will issue only upon a request establishing that the

20   Protected Material at issue is privileged, protectable as a trade secret, or otherwise entitled to

21   protection under the law. If a Receiving Party's request to file Protected Material under seal pursuant

22   to Civil Local Rule 79-5 is denied by the court, then the Receiving Party may file the information in

23   the public record pursuant to Civil Local Rule 79-5 unless otherwise instructed by the court.

24          12.4    Use of Protected Material in Other LLR Matters. Subject to and without waiving

25   any potential objections to admissibility in any briefing or submission to the Court, at the trial or

26   other proceeding before the Court, in an effort to promote overall efficiency, the parties agree that

27   any evidence produced in another court case and/or arbitration between Defendants and

28   Plaintiffs/Claimants represented by Lichten & Liss-Riordan, P.C. (including deposition or hearing
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 1   testimony) may be used in this case without having to be requested/produced again in discovery.

 2   Similarly, the parties agree that any evidence produced in this case (including deposition and

 3   hearing testimony) may be used in another court case and/or arbitration between Defendants and

 4   Plaintiffs/Claimants represented by Lichten & Liss-Riordan, P.C. without having to be

 5   requested/produced again in the other matter, subject to and without waiving any potential

 6   objections to admissibility based upon the applicable evidentiary rules in the venue where such

 7   evidence is sought to be used.

 8          Any information or documents designated as Protected Material in another LLR Matter

 9   shall be treated with the level of protection to which it is entitled under the Producing Party’s

10   designation under the terms of this Order unless the Non-Designating Party challenges the

11   confidentiality designation under Section 6 of this Order.

12   13.    FINAL DISPOSITION

13          Within 60 days after the final disposition of this action, as defined in paragraph 4, or 90 days

14   after the termination of all LLR Matters, whichever is later, each Receiving Party must return all

15   Protected Material to the Producing Party or destroy such material. As used in this subdivision, “all

16   Protected Material” includes all copies, abstracts, compilations, summaries, and any other format

17   reproducing or capturing any of the Protected Material. Whether the Protected Material is returned

18   or destroyed, the Receiving Party must submit a written certification to the Producing Party (and, if

19   not the same person or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by

20   category, where appropriate) all the Protected Material that was returned or destroyed and (2)

21   affirms that the Receiving Party has not retained any copies, abstracts, compilations, summaries or

22   any other format reproducing or capturing any of the Protected Material. Notwithstanding this

23   provision, Counsel are entitled to retain an archival copy of all pleadings, motion papers, trial,

24   deposition, and hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits,

25   expert reports, attorney work product, and consultant and expert work product, even if such

26   materials contain Protected Material. Any such archival copies that contain or constitute Protected

27   Material remain subject to this Protective Order as set forth in Section 4 (DURATION).

28   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
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 1   DATED: July 18, 2024                /s/ Shannon Liss-Riordan
                                         Shannon Liss-Riordan
 2                                       Bradley Manewith
                                         Lichten & Liss-Riordan, P.C.
 3                                       Attorneys for Plaintiff MARK SCHOBINGER
 4
     DATED: July 18, 2024                /s/ Eric Meckley
 5
                                         Eric Meckley
 6                                       Morgan Lewis & Bockius LLP
                                         Attorneys for Defendant X CORP. as Successor in
 7                                       Interest to TWITTER, INC.
 8   PURSUANT TO STIPULATION, IT IS SO ORDERED.

 9

10   DATED: ________________             _____________________________________
                                         United States District/Magistrate Judge
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 1                                                 EXHIBIT A

 2                      ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 3   I, _____________________________ [print or type full name], of _________________ [print or

 4   type full address], declare under penalty of perjury that I have read in its entirety and understand the

 5   Stipulated Protective Order that was issued by the United States District Court for the Northern

 6   District of California on [date] in the case of ___________ [insert formal name of the case and the

 7   number and initials assigned to it by the court]. I agree to comply with and to be bound by all the

 8   terms of this Stipulated Protective Order and I understand and acknowledge that failure to so comply

 9   could expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I

10   will not disclose in any manner any information or item that is subject to this Stipulated Protective

11   Order to any person or entity except in strict compliance with the provisions of this Order.

12   I further agree to submit to the jurisdiction of the United States District Court for the Northern

13   District of California for the purpose of enforcing the terms of this Stipulated Protective Order, even

14   if such enforcement proceedings occur after termination of this action.

15   I hereby appoint __________________________ [print or type full name] of

16   _______________________________________ [print or type full address and telephone number] as

17   my California agent for service of process in connection with this action or any proceedings related

18   to enforcement of this Stipulated Protective Order.

19

20   Date: ______________________________________

21   City and State where sworn and signed: _________________________________

22

23   Printed name: _______________________________

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25   Signature: __________________________________

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